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 The following constitutes the ruling of the court and has the force and effect therein described.




Signed December 6, 2022
______________________________________________________________________




                                         In the United States Bankruptcy Court
                                           For the Northern District of Texas
                                                 DALLAS DIVISION


In Re:                                                                           Case No. 22-31247-SGJ-13
FREDDIE LOUIS & AMETRIA DOMANISE TAYLOR
           Debtors


                      Order Dismissing Chapter 13 Case Pursuant to General Order 2021-05
                                              Without Prejudice

On representation of the Standing Chapter 13 Trustee as evidenced by the signature below, that the Debtors failed to
timely pay the Trustee one or more pre-Confirmation payments specified in the Debtors' Plan and that 17 days written
notice of such failure was given to Debtors and Attorney for Debtors, if any, prior to submission.

IT IS THEREFORE, FURTHER ORDERED that this case is hereby DISMISSED pursuant to General Order
2021-05 and that all debts due and owing creditors as of this date are NOT DISCHARGED or affected in any manner by
this order.
      Case 22-31247-sgj13        Doc 53     Filed 12/07/22 Entered 12/07/22 16:53:27   Desc Main
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Order Dismissing Chapter 13 Case Pursuant to General Order 2021-05, Page 2
22-31247-SGJ-13
FREDDIE LOUIS & AMETRIA DOMANISE TAYLOR




                                              ### End of Order ###


Approved: /s/ Thomas D. Powers
          Thomas D. Powers, Trustee
          State Bar # 16218700
          Office of the Standing Chapter 13 Trustee
          105 Decker Ct
          Suite 1150 11th Floor
          Irving, TX 75062
          (214) 855-9200 / (214) 965-0757 (Fax)
